                                                                 Case 3:16-cv-00885-AVC          Document
                                                                                   Montague v. Yale                      89-3 (AVC)(D.
                                                                                                    Univ., et al., No. 3:16-cv-00885 FiledConn.)
                                                                                                                                            05/16/17 Page 1 of 2
                                                                                                                            Production YALE006 (Criscuolo)
                                                                                                                               Privilege/Redaction Log

          A               B              C                D                         E                  F                                  G                                                  H                                     I                            J                      K
1     BegControl     Begin Bates     End Bates          Type                Subject / Title          Date                           Author / Sender                                     Recipient(s)                         Designation                  Description                Action
                                                  Microsoft                                                                                                                                                                                  Request for legal advice re email from
2 DOCID000025078                                  Outlook Note      FW: Follow Up                    3/9/2016 John Criscuolo                                        "Martinez, Vannesa" <vannesa.martinez@yale.edu>   Privileged             Montague withheld                      Withheld
                                                                                                                                                                                                                      Privileged; FERPA;
                                                  Microsoft         Confidential - UWC                                                                                                                                confidential student   Legal advice and confidential student
3 DOCID000025268    YALE00016930   YALE00016930   Outlook Note      Respondent training log         9/19/2016 "Sharif-Hyder, Anita" <anita.sharif-hyder@yale.edu>   "Criscuolo, John" <john.criscuolo@yale.edu>;      information            information redacted                  Redacted

                                                  Microsoft 2007 UWC Record of Training for                                                                                                                           FERPA; confidential    Confidential student information
4 DOCID000025269    YALE00016931   YALE00016933   Word Document Respondents                         9/19/2016 Sharif-Hyder, Anita                                   John Criscuolo                                    student information    redacted                              Redacted
                                                                                                                                                                    "Criscuolo, John"
                                                                                                                                                                    <john.criscuolo@yale.edu>;"Cooper, Harriet"
                                                  Microsoft         Confidential: Important Legal                                                                   <harriet.cooper@yale.edu>, "Sawyer, Susan"                               A/C communication re document
5 DOCID000025585                                  Outlook Note      Information                     3/23/2016 "Rose, Harold" <harold.rose@yale.edu>                 <susan.sawyer@yale.edu>                           Privileged             preservation withheld                 Withheld
                                                                                                                                                                    "Criscuolo, John"
                                                                                                                                                                    <john.criscuolo@yale.edu>;"Cooper, Harriet"                              A/C communication re document
                                                  Microsoft Excel                                                                                                   <harriet.cooper@yale.edu>, "Sawyer, Susan"                               preservation and attorney work
6 DOCID000025586                                  Spreadsheet       OGC computer survey             3/23/2016 Harold Rose                                           <susan.sawyer@yale.edu>                           Privileged             product withheld                      Withheld
                                                                                                                                                                                                                                             Request for legal advice and legal
                                                  Microsoft                                                                                                                                                                                  advice re email from Montague
7 DOCID000025610                                  Outlook Note      Re: Follow Up                    3/9/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>               "Criscuolo, John" <john.criscuolo@yale.edu>;      Privileged             withheld                              Withheld
                                                                                                                                                                                                                                             Request for legal advice and legal
                                                  Microsoft                                                                                                                                                                                  advice re email from Montague
8 DOCID000025611                                  Outlook Note      Re: Follow Up                    3/9/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>               "Criscuolo, John" <john.criscuolo@yale.edu>;      Privileged             withheld                              Withheld
                                                                                                                                                                                                                                             Request for legal advice and legal
                                                  Microsoft                                                                                                                                                                                  advice re email from Montague
9 DOCID000025612                                  Outlook Note      Re: Follow up                    3/9/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>               "Criscuolo, John" <john.criscuolo@yale.edu>;      Privileged             withheld                              Withheld
                                                                                                                                                                                                                                             Request for legal advice and legal
                                                  Microsoft                                                                                                                                                                                  advice re email from Montague
10 DOCID000025614                                 Outlook Note      Re: Follow up                    3/9/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>               "Criscuolo, John" <john.criscuolo@yale.edu>;      Privileged             withheld                              Withheld
                                                  Portable
                                                  Document          UWC Record of Training for                                                                                                                        FERPA; confidential    Confidential student information
11 DOCID000025782   YALE00016950   YALE00016951   Format            Respondents                     6/23/2015 YaleHR@yale.edu                                       Criscuolo, John[john.criscuolo@yale.edu]          student information    redacted                              Redacted

                                                  Microsoft 2007 UWC Record of Training for                                                                         Goldberg, Carole[carole.goldberg@yale.edu];       FERPA; confidential    Confidential student information
12 DOCID000025884   YALE00016953   YALE00016954   Word Document Respondents                         2/17/2015 Sharif-Hyder, Anita                                   Criscuolo, John[john.criscuolo@yale.edu]          student information    redacted                              Redacted

                                                                                                              "Criscuolo, John" <"/o=yale university/ou=exchange
                                                  Microsoft                                                   administrative group                                                                                                           Request for legal advice re email from
13 DOCID000026137                                 Outlook Note      FW: Follow Up                    3/9/2016 (fydibohf23spdlt)/cn=recipients/cn=john.criscuolo">   "Sawyer, Susan" <susan.sawyer@yale.edu>;          Privileged             Montague withheld                      Withheld

                                                                                                              "Criscuolo, John" <"/o=yale university/ou=exchange                                                                             Request for legal advice and legal
                                                  Microsoft                                                   administrative group                                                                                                           advice re email from Montague
14 DOCID000026138                                 Outlook Note      RE: Follow Up                    3/9/2016 (fydibohf23spdlt)/cn=recipients/cn=john.criscuolo">   "Sawyer, Susan" <susan.sawyer@yale.edu>;          Privileged             withheld                              Withheld

                                                                                                              "Criscuolo, John" <"/o=yale university/ou=exchange                                                                             Request for legal advice and legal
                                                  Microsoft                                                   administrative group                                                                                                           advice re email from Montague
15 DOCID000026140                                 Outlook Note      FW: Follow up                    3/9/2016 (fydibohf23spdlt)/cn=recipients/cn=john.criscuolo">   "Sawyer, Susan" <susan.sawyer@yale.edu>;          Privileged             withheld                              Withheld

                                                                                                              "Criscuolo, John" <"/o=yale university/ou=exchange
                                                  Microsoft                                                   administrative group                                                                                                           Request for legal advice re email from
16 DOCID000026141                                 Outlook Note      FW: Follow up                    3/9/2016 (fydibohf23spdlt)/cn=recipients/cn=john.criscuolo">   "Sawyer, Susan" <susan.sawyer@yale.edu>;          Privileged             Montague withheld                      Withheld
                                                  Portable
                                                  Document          UWC Record of Training for                                                                                                                        FERPA; confidential    Confidential student information
17 DOCID000026235   YALE00016989   YALE00016990   Format            Respondents                     6/19/2015 Criscuolo, John                                       Menon, Alice[aley.menon@yale.edu]                 student information    redacted                              Redacted

                                                                                                              "Criscuolo, John" <"/o=yale university/ou=exchange
                                                  Microsoft                                                   administrative group                                                                                    FERPA; confidential    Confidential student information
18 DOCID000026238   YALE00016991   YALE00016991   Outlook Note      [REDACTED] & Jack Montague       5/4/2015 (fydibohf23spdlt)/cn=recipients/cn=john.criscuolo">   "Menon, Alice" <aley.menon@yale.edu>;             student information    redacted                              Redacted
                                                             Case 3:16-cv-00885-AVC Document 89-3 Filed 05/16/17 Page 2 of 2


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                                                  Portable
                                                  Document    UWC Record of Training for                                                                              FERPA; confidential   Confidential student information
19 DOCID000026543   YALE00017080   YALE00017081   Format      Respondents                  6/23/2015 Criscuolo, John       Menon, Alice[aley.menon@yale.edu]          student information   redacted                           Redacted
                                                  Portable
                                                  Document    UWC Record of Training for                                                                              FERPA; confidential   Confidential student information
20 DOCID000026546   YALE00017083   YALE00017084   Format      Respondents                  6/19/2015 YaleHR@yale.edu       Criscuolo, John[john.criscuolo@yale.edu]   student information   redacted                           Redacted
